Case 2:18-cv-03893-RGK-AGR Document 26 Filed 07/29/18 Page 1 of 1 Page ID #:102




                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

   EDWARDO MUNOZ                              CASE NO:
                                              2:18−cv−03893−RGK−AGR
                  Plaintiff(s),
         v.                                   ORDER SETTING SCHEDULING
   7−ELEVEN, INC.                             CONFERENCE

                 Defendant(s).




        A scheduling conference has been placed on calendar for October 22, 2018
    at 09:00 AM. The Conference will be held pursuant to F.R.Civ. P. 16(b). Trial counsel
    must be present and there are no telephonic appearances. Counsel are ordered to file
    a joint statement providing a brief factual summary of the case, including the claims
    being asserted. The parties are reminded of their obligations to disclose information and
    confer on a discovery plan not later than 21 days prior to the scheduling conference,
    and to file a joint statement with the Court not later than 14 days after they confer, as

    required by F.R. Civ.P. 26 and the Local Rules of this Court. Failure to comply may
    lead to the imposition of sanctions. Plaintiff’s counsel is directed to give notice of the
    scheduling conference to each party that makes an initial appearance in the action after

    this date.


   DATED: July 29, 2018
                                          R. Gary Klausner
                                          United States District Judge
                                                 −1−
